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                             Exhibit 1
                    [Filed Under Seal]
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                             Exhibit 2
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 From: John Littrell <
 Sent: Tuesday, November 30, 2021 9:15 AM
 To: Jenkins, Mack (USACAC) <
 Cc: Har, Susan (USACAC) <                     Buxton, Jamari (USACAC) <
 Ryan V. Fraser <                        Garrison Giali <
 Subject: [EXTERNAL] RE: U.S. v. Fortenberry

 Mack, this is fine except that January 4 does not work for a hearing date.
 If you don’t want to do the hearing on December 21, then I would propose a hearing date of January
 11.
 We are free for a meet and confer today at 12pm, I’ll circulate a zoom link.

 John L. Littrell | Partner
 Bienert Katzman Littrell Williams LLP
 Website | vCard | Profile


 From: Jenkins, Mack (USACAC) <
 Sent: Monday, November 29, 2021 6:11 PM
 To: John Littrell <
 Cc: Har, Susan (USACAC) <                         Buxton, Jamari (USACAC)
 <                             Ryan V. Fraser <                       Garrison Giali
 <
 Subject: RE: U.S. v. Fortenberry

 Thanks for your responses. Here is the proposed stip/po that incorporates the expert disclosures
 and the revised briefing schedule for your latest two motions discussed below.
 Our collective best time to chat is 12pm tomorrow. If that still works, you want to circulate a
 conference call or Zoom?


 From: John Littrell <
 Sent: Monday, November 29, 2021 4:26 PM
 To: Jenkins, Mack (USACAC) <
 Cc: Har, Susan (USACAC) <                     Buxton, Jamari (USACAC) <
 Ryan V. Fraser <                        Garrison Giali <
 Subject: [EXTERNAL] RE: U.S. v. Fortenberry

 I thought we pretty well exhausted the meet and confer efforts with respect to the discovery
 dispute. We wrote several letters, and specifically asked to meet and confer about them. You
 responded with a letter denying our requests.

 That being said, I would be happy to discuss the disputed issues in the discovery motion further, and

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 if we can resolve any of the disputed issues I will withdraw some or all of it.

 I don’t think we have an obligation to set a briefing schedule that is different from the one identified
 in the Court’s standing order, but as I have said before if you need extra time to respond to any
 motion we file just let me know and I will work with you. I’m fine with the schedule you propose
 below for the discovery and suppression motion, so perhaps you can incorporate that into the stip
 you have in mind for the agreed upon schedule for expert disclosures.

 On the motion to suppress, we still anticipate filing that tomorrow, so let’s set a time to meet and
 confer on that as well as the discovery motion.
 I can be available any time between now and COB tomorrow, just let me know when is good for you.

 We do anticipate filing a declaration in support of that motion from Trey Gowdy, and I will check
 with his availability on the date you propose.   

    

 John L. Littrell | Partner
 Bienert Katzman Littrell Williams LLP
 Website | vCard | Profile


 From: Jenkins, Mack (USACAC) <
 Sent: Monday, November 29, 2021 11:54 AM
 To: John Littrell <
 Cc: Har, Susan (USACAC) <                            Buxton, Jamari (USACAC)
 <                             Ryan V. Fraser <                          Garrison Giali
 <
 Subject: RE: U.S. v. Fortenberry

 Thanks John.

 Sounds good, we will prepare a stip to alert the Court to our agreement and apprise it of the update
 to the pre-trial schedule.

 I hear your position on the “meet and confer.” Just to be clear, ours is that the Court’s “meet and
 confer” order is not a mere “notice” requirement, but requires, among other things, a discussion of
 the briefing schedule and actual responsive discussion about the merits before the motion filed.
 And we appreciate that you have provided those additional steps since our meeting after we raised
 the issue, including the below email, up until today.

 Today, after sending the below email on Sunday at 12:24 pm requesting our position on both
 motions and to discuss a briefing schedule, you then filed one of those motions (Docket 30) today at
 10:42 a.m. without waiting for our response on any of your requests. Moreover, you filed the
 motion early according to the Court’s briefing schedule that delineates Tuesdays as the default filing
 date for criminal motions. Our position is that Docket 30 is not in compliance with the Court’s meet

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 and confer order.

 Notwithstanding the above, regarding scheduling, we appreciate the offer and will take the extra
 week to respond to the latest two motions (for a total of two weeks). But can you please set the
 hearing date for January 4 instead of Dec. 28? While we do not need additional time beyond the
 two weeks for briefing, that week between Christmas and New Year’s involves a lot of travel that
 makes that hearing date a bad date.

 Regarding the motions themselves, please advise whether you will be providing declarations in
 support of both/either? Additionally, if so, we assume you will make all declarants available for cross
 examination on the hearing date?

 Thank you.


 From: John Littrell <
 Sent: Sunday, November 28, 2021 12:24 PM
 To: Jenkins, Mack (USACAC) <                            Ryan V. Fraser <
 Garrison Giali <
 Cc: Har, Susan (USACAC) <                       Buxton, Jamari (USACAC) <
 Subject: [EXTERNAL] RE: U.S. v. Fortenberry

 Mack, I hope you all had a nice thanksgiving.

 Your proposed schedule for providing expert notice set forth in your November 26, 2021 letter is
 fine with us.

 I disagree with your characterization of our November 8, 2021 call as being for the purpose of
 discussing our “failure to comply with the Court’s meet-an-confer requirement prior to filing [our]
 venue motion.” We did not fail to comply with the Court’s meet-and-confer requirement. To the
 contrary, I had advised you of the venue defect in this case repeatedly prior to filing a motion, both
 prior to the indictment and afterward, including at Congressman Fortenberry’s arraignment, when
 we announced that we would be filing a motion to dismiss for lack of venue. You consistently
 expressed your view that there was venue based on the “felt-in” test, which you then articulated in
 your opposition.

 We are planning to file two more motions this week, with a presumptive hearing date of December
 21, 2021. However, if you want an extra week to respond I will notice the hearing for December 28,
 2021.

 The first is a motion to compel the discovery that you declined to produce as set forth in your
 November 23, 2021 letter. I think we have both set forth our positions on this already in our letters.

 The second is a motion to suppress Congressman Fortenberry’s statements. We also advised you
 and the Court at Congressman Fortenberry’s arraignment that we were anticipating filing this
 motion. The theory behind this motion is that (1) prior to the Washington D.C. interview you


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 represented to Fortenberry’s then-counsel, Trey Gowdy, that the Congressman was a subject,
 trending toward being a witness (as opposed to a target) of the investigation. Trey relied on that
 representation when he advised Fortenberry to participate in the Washington D.C. interview. That
 representation was misleading because the government had already secretly recorded a call
 between Fortenberry and Individual H in 2018, and had conducted a surreptitiously recorded
 interview of Fortenberry in March 2019 in which the government believed he lied to a federal agent
 by falsely denying the information conveyed to him in that 2018 call. This motion is also based on
 (2) your representation to Trey, during a break in the Washington D.C. interview, that it was not a
 “bullshit 1001” (meaning an effort to set the Congressman up to make a false statement based on
 the secretly recorded call you had at the time) when at least portions of that interview appear to be
 a “bullshit 1001” because they were designed to set Fortenberry up to make a false statement based
 on that recording.

 Please let us know if you think we can resolve either of these disputes without filing these motions.



 John L. Littrell | Partner
 Bienert Katzman Littrell Williams LLP
 Website | vCard | Profile


 From: Jenkins, Mack (USACAC) <
 Sent: Friday, November 26, 2021 7:02 PM
 To: John Littrell <                    Ryan V. Fraser <
 Cc: Har, Susan (USACAC) <                       Buxton, Jamari (USACAC)
 <
 Subject: U.S. v. Fortenberry

 Hi John and Ryan: Please see attached correspondence.

 Hope you both have a great holiday weekend.

 Mack E. Jenkins | Assistant United States Attorney
 Chief | Public Corruption & Civil Rights Section
 United States Courthouse, Suite 1500 | 312 N. Spring St. | Los Angeles, California 90012
 T:               F:               |




                                                                                                 EXHIBIT 2
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                             Exhibit 3
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From: cacd_ecfmail@cacd.uscourts.gov <cacd_ecfmail@cacd.uscourts.gov>
Sent: Monday, November 29, 2021 10:42 AM
To: noreply@ao.uscourts.gov
Subject: Activity in Case 2:21‐cr‐00491‐SB USA v. Fortenberry Motion to Compel


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                                            UNITED STATES DISTRICT COURT

                                           CENTRAL DISTRICT OF CALIFORNIA

Notice of Electronic Filing

The following transaction was entered by Littrell, John on 11/29/2021 at 10:41 AM PST and filed on 11/29/2021
Case Name:          USA v. Fortenberry
Case Number:        2:21‐cr‐00491‐SB
Filer:              Dft No. 1 ‐ Jeffrey Fortenberry
Document Number: 30

Docket Text:
NOTICE OF MOTION AND MOTION to Compel Discovery Filed by Defendant Jeffrey
Fortenberry. Motion set for hearing on 12/21/2021 at 08:00 AM before Judge Stanley
Blumenfeld Jr.. (Attachments: # (1) Exhibit A - D) (Littrell, John)


2:21‐cr‐00491‐SB‐1 Notice has been electronically mailed to:

J Jamari Buxton

John Lewis Littrell                         4579179420@filings.docketbird.com, docket@bklwlaw.com,
tthomas@bklwlaw.com

Mack Eric Jenkins                              caseview.ECF@usdoj.gov, usacac.criminal@usdoj.gov
                                                             1
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Ryan Vaughan Fraser

Susan S. Har                         CaseView.ECF@usdoj.gov, USACAC.criminal@usdoj.gov

2:21‐cr‐00491‐SB‐1 Notice has been delivered by First Class U. S. Mail or by other means BY THE FILER to :

The following document(s) are associated with this transaction:

Document description:Main Document
Original filename:C:\fakepath\211129 Motion to Compel Discovery (FINAL).pdf
Electronic document Stamp:
[STAMP cacdStamp_ID=1020290914 [Date=11/29/2021] [FileNumber=33022545‐
0] [6f12800eb53705f0fb3d5084afb6d83c338dc375d4bc4ce289045a2c5550bf22a4
f5cbfd8eb18b9cf2d9053e40a2feecc154956ed40bd6875c52380d3823af6a]]
Document description:Exhibit A ‐ D
Original filename:C:\fakepath\Exhibits A‐D (FINAL).pdf
Electronic document Stamp:
[STAMP cacdStamp_ID=1020290914 [Date=11/29/2021] [FileNumber=33022545‐
1] [791d2c54651af90ad3231152685595e06796fcc171bed8927ab3e2cb80d202f3b8
b4e1af2c043f98e640a3a0e34a8f7ff791d584938b4f4eb0370e5abf970cd5]]




                                                           2
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                              Exhibit 4
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                              Exhibit 5
                     [Filed Under Seal]
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                              Exhibit 6
                     [Filed Under Seal]
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                              Exhibit 7
                     [Filed Under Seal]
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                              Exhibit 8
                     [Filed Under Seal]
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                              Exhibit 9
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 From:            Har, Susan (USACAC)
 To:              Jenkins, Mack (USACAC); John Littrell
 Cc:              Ryan V. Fraser
 Subject:         RE: US v. Fortenberry, CR 2:21-cr-00491-SB
 Date:            Thursday, November 4, 2021 10:19:00 AM




 Hi John and Ryan,

 We have received through PACER your motion to dismiss for lack of venue, which we understand
 was also provided by the defense to local media. We would like to call to your attention to Judge
 Blumenfeld’s criminal standing order, Section E, subsection 1, which states, in relevant part:

 Hearings.
 Meet and confer before filing a motion and describe the resolution efforts in the notice of
 motion.

 Contrary to the standing order, your notice does not describe any meet and confer efforts because
 no such efforts were made. As you may recall, we also asked to discuss a briefing schedule for the
 motions you planned to file, as well as the trial date, particularly given the condensed timeline and
 with the coming holidays (see below). You advised that you wanted to take a look at the discovery
 before we talked about a trial date and briefing schedule. As you know, we had no such further
 discussions before you filed your motion.

 So there is no confusion, the government is re-raising its request to discuss a briefing schedule for
 any future motions, as well as to engage in meet and confer efforts prior to the filing of any motions,
 as required by the Court’s order. While we appreciate you previously made us aware you intended
 to file certain motions, this does not replace the meet and confer requirement. As you know, meet
 and confers can conserve court and party resources by obviating the need for litigation, establishing
 agreed upon briefing schedules and hearing dates, and narrowing or previewing issues for the Court.

 Best,
 Susan and Mack

 Susan Har | Assistant United States Attorney
 O:            | C: 213-503-


 From: Jenkins, Mack (USACAC) <
 Sent: Monday, October 25, 2021 7:14 PM
 To: John Littrell <
 Cc: Ryan V. Fraser <                        Garrison Giali <                        Har, Susan
 (USACAC) <
 Subject: RE: US v. Fortenberry, CR 2:21-cr-00491-SB

 Hi John –
     1. As we discussed, given, among other things, the sensitive nature of the investigation and
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          reference to various public officials, we need to secure a protective order before producing
          the discovery. Accordingly, attached is a stip/po. I will represent the protective order is based
          on our standard version and essentially tracks the protective order entered into by the parties
          and signed by Judge Walter in US v. Huizar et al., 20-326-JFW.
     2.   We have also attached a draft transcript agreement for your review/signature.
     3.   Once both have been executed and the protective order entered by the judge, we are
          prepared to then appropriately stamp all of the discovery and produce it within the next day
          or so via USAFx.
     4.   Regarding trial dates - as we discussed, the government can be prepared to go on the first
          date (12/14). If your client seeks a continuance, we had discussed a mid-March 2022 date.
          Our understanding is that the judge is tight with continuances so we believe it would be
          prudent to select the most realistic date with our first shot. Susan and I have trial conflicts
          January 2022 and May-June 2022. Please let us know your thoughts and we can work on a
          stip.
     5.   Given the various motions you discussed filing, it makes sense to include a briefing schedule in
          any stipulation that allows you time to prepare them and us sufficient time to respond. We
          should do it all sufficiently in advance of trial and the court’s MILs deadline to make our
          respective trial preparations the most efficient.


 From: John Littrell <
 Sent: Monday, October 25, 2021 4:57 PM
 To: Jenkins, Mack (USACAC) <                          Har, Susan (USACAC) <
 Cc: Ryan V. Fraser <                       Garrison Giali <
 Subject: [EXTERNAL] RE: US v. Fortenberry, CR 2:21-cr-00491-SB

 Hi guys, just following up on this. Can you let me know status on discovery please. Thank you.

 John L. Littrell | Partner
 Bienert Katzman Littrell Williams LLP
 Website | vCard | Profile


 From: John Littrell
 Sent: Friday, October 22, 2021 3:55 PM
 To: Jenkins, Mack (USACAC) <                            Har, Susan (USACAC)
 <
 Cc: Ryan V. Fraser <                       Garrison Giali <
 Subject: US v. Fortenberry, CR 2:21-cr-00491-SB

 Mack and Susan, please see the attached discovery request. I appreciate your agreement to
 produce discovery promptly. As I mentioned when we last spoke, we intend to proceed to trial as
 quickly as is reasonably possible in order to mitigate the harm that this outstanding indictment has
 caused Rep Fortenberry, his family, and his constituents.   
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 John L. Littrell
 Partner | Orange County
 Bienert Katzman Littrell Williams LLP
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                            Declaration
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